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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  NORTHERN DIVISION

JOHN DOE                                                                                      PLAINTIFF

V.                                                     CIVIL ACTION NO. 3:18-CV-63-DPJ-FKB

THE UNIVERSITY OF MISSISSIPPI; STATE
INSTITUTIONS OF HIGHER LEARNING (“IHL”);
TRACY MURRY, INDIVIDUALLY AND IN HIS
OFFICIAL CAPACITY; HONEY USSERY,
INDIVIDUALLY AND IN HER OFFICIAL CAPACITY;
STATE OF MISSISSIPPI, and DOES 1-5.                                                       DEFENDANTS

                                 DEFENDANTS’ BRIEF IN SUPPORT
                                  OF THEIR MOTION TO DISMISS

          Plaintiff John Doe alleges that the University infringed his constitutional and statutory

rights when expelling him for violating the University’s sexual misconduct policy. Doe’s

allegations fail to establish jurisdiction and fail to state a claim. The Court should dismiss is

Complaint in its entirety.1

1.        Factual background2

          Doe and Jane Roe were both undergraduate students at the University during the Spring

2017 academic semester. On March 30, 2017, Doe and Roe had sexual intercourse in Doe’s

dorm room. The next day, Roe told Defendant Honey Ussery, the University’s Title IX

Coordinator, and representatives of the University Police Department that Doe had sexually

assaulted her. In late May 2017, Roe contacted Defendant Ussery again and informed her that

she wanted to pursue a complaint against Doe for violating the University’s policy prohibiting

sexual misconduct.3


1
 For the Court’s convenience, Defendants have attached a matrix outlining Plaintiff’s claims and their threshold
deficiencies as Appendix “A” to this Brief.
2
    For purposes of this Motion, Defendants accept Doe’s well-pleaded allegations.
3
    Compl., at 8-10 [Doc. 1].
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        The University’s sexual misconduct policy disallows “[s]exual intercourse, or sexual

penetration, however slight, with any object or body part without effective consent.”4 The policy

provides:

        Sexual intimacy requires that all participants consent to the activity. Consent
        between two or more people is defined as an affirmative agreement – through
        clear actions or words – to engage in sexual activity. The person giving the
        consent must act freely, voluntarily, and with an understanding of his or her
        actions when giving the consent.

        Lack of protest or resistance does not constitute consent, nor does silence mean
        consent has been given. Relying solely on non-verbal communication can lead to
        misunderstanding. Persons who want to engage in sexual activity are responsible
        for obtaining consent – it should never be assumed.

        A prior relationship or prior sexual activity is not sufficient to demonstrate
        consent.

        Consent must be present throughout the sexual activity – at any time, a participant
        can communicate that he or she no longer consents to continuing the activity. If
        there is confusion as to whether anyone has consented or continues to consent to
        sexual activity, it is essential that the participants stop the activity until the
        confusion can be clearly resolved.5

        Defendant Ussery interviewed Doe, Roe, and nine other witnesses.6 Roe told Ussery that

she did not consent to having sexual intercourse with Roe on March 30, 2017, and that she told

Doe several times that she did not want to have sex.7 Three other witnesses told Ussery that Roe

told them she had not consented to sex immediately after the sexual encounter with Doe.8 Doe

told Ussery that Roe did not tell him to stop during the sexual encounter.9

        Ussery prepared a report summarizing Roe’s allegations and the statements of all

witnesses (including Doe), and forwarded the report to Defendant Tracy Murry, the Director of


4
  Ex. “A” (Sexual Misconduct Policy). Plaintiff references this policy on page 22 of his Complaint.
5
  Id.
6
  Ex. “B” (Ussery Report). Plaintiff references this report on pages 12-13 of his Complaint.
7
  Id.
8
  Id.
9
  Id.
                                                        2
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the University’s Office of Conflict Resolution and Student Conduct, who provided Doe with

written notice of the charges and scheduled a disciplinary hearing before the University Judicial

Council pursuant to the University’s written policies.10

        A hearing was held on August 24, 2017. Doe was allowed to address the Judicial

Council, call witnesses, have legal advisors present, and submit written questions to be asked of

witnesses.11 The Judicial Council found Doe responsible for violating the Sexual Misconduct

Policy and expelled him from the University.12 Doe appealed this decision, and the Appellate

Consideration Board remanded the proceedings for a new hearing because of potential confusion

caused by Ussery’s summary of the case and by conflicting testimony of Doe and Roe.13

        At the second hearing, Doe testified on his own behalf14 and posed objections during the

hearing.15 He challenged statements that had been collected by the Title IX coordinator.16 He

provided the Judicial Council with supplemental evidence prior to the hearing, including a

forensic report and a polygraph report.17 He had legal advisors present during the hearing and

conferred with them as needed.18 He called witnesses, including two expert witnesses, and asked




10
   Compl., at 12-14 [Doc. 1].
11
   See Ex. “C” (August Disciplinary Hearing Transcript). Defendants have included transcripts of both
hearings as part of their Motion, the events of those hearings are central to Doe’s claims and discussed in
great detail in his Complaint. See Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498-99 (5th Cir.
2000) (holding that “documents that a defendant attaches to a motion to dismiss are considered part of the
pleadings if they are referred to in the plaintiff’s complaint and are central to her claim”).
Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498-99 (5th Cir. 2000).
12
   See Ex. “D” (Judicial Council Memo, Aug. 25, 2017). Doe refers to the outcome of the first hearing on
page 14 of the Complaint.
13
   See Ex. “E” (Appellate Consideration Board Memo, Oct. 11, 2017). Doe refers to this document on
page 15 of the Complaint.
14
   Ex. “F” (November Disciplinary Hearing Transcript), at 18:25-31:24.
15
   Id. at 17:15-18:21.
16
   Id. at 26:14-27:8; 36:25-37:4; 78:14-21; 133:7-23; 137:8-138:1.
17
   Id. at 137:17-19; Compl., at 71-74 [Doc. 1].
18
   Id. at 2:12-15; Compl., at 75 [Doc. 1].
                                                         3
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questions of witnesses through written questions submitted to the Judicial Council.19 He was

cross-examined the complainant through written questions submitted to the Judicial Council.20

       Jane Roe testified at the second hearing that she told Doe repeatedly that she did not want

to have sex with him, but that he proceeded to have sex with her.21 Doe testified that he did not

hear Jane Roe say she did not want to have sex, but he acknowledged that the parties were

initially “unsure” whether they wanted to have sex, that Doe and Roe “never came to the

conclusion that [they] didn’t want to have sex,” that they “came to the conclusion that [they]

didn’t say [they] didn’t want to” have sex, and that he did not receive a verbal, “direct yes” from

Roe.22 The Judicial Council found Doe responsible for a violation of the Sexual Misconduct

policy and suspended him from the University.23 Both Doe and Roe appealed. After reviewing

the record, the Appellate Consideration Board upheld the finding of responsibility, but increased

Doe’s punishment to expulsion.24

2.     Standards of law

       A Rule 12(b)(1) motion challenges the plaintiff’s invocation of federal subject matter

jurisdiction and questions the very power of the court to hear the case.25 When one party

challenges subject matter jurisdiction, the party asserting jurisdiction bears the burden of

establishing jurisdiction.26 When considering a motion to dismiss for lack of subject matter




19
   Id. at 13:22-17:14, 80:6-114:10; Compl., at 17-18 [Doc. 1].
20
   Id. at 32:1-65:25; Compl., at 26 [Doc. 1].
21
   Id. at 8:14-9:10, 34:23-35:21; 46:6-47:4.
22
   Id. at 24:8-15, 70:9-11, 71:20-25, 130:16-131:2, 134:21-24.
23
   See Ex. “G” (Judicial Council Memo, Nov. 17, 2017). Doe refers to this document on page 21 of the
Complaint.
24
   See Ex. “H” (Appellate Consideration Board Memo, Dec. 5, 2017). Doe refers to this document on
page 22 of the Complaint.
25
   See Krim v. PCOrder.com, Inc., 402 F.3d 489, 494 (5th Cir. 2005).
26
   See Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992); In re FEMA Trailer Formaldehyde Prods.
Liab. Litig., 646 F.3d 185, 189 (5th Cir. 2011).

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jurisdiction, a court may consider (ii) the complaint alone, (ii) the complaint supplemented by

undisputed facts in the record, or (iii) the complaint supplemented by undisputed fact plus the

court’s resolution of disputed facts.27

        A ruling under Rule 12(b)(6) should only be rendered after the district court has

addressed any arguments regarding subject matter jurisdiction. Federal Rule of Civil Procedure

12(b)(6) authorizes dismissal for failure to state a claim upon which relief may be granted.28

        To avoid dismissal, a complaint must contain sufficient factual matter, accepted
        as true, to state a claim to relief that is plausible on its face. To be plausible, the
        complaint’s factual allegations must be enough to raise a right to relief above the
        speculative level. In deciding whether the complaint states a valid claim for relief,
        we accept all well-pleaded facts as true and construe the complaint in the light
        most favorable to the plaintiff. We do not accept as true conclusory allegations,
        unwarranted factual inferences, or legal conclusions.29

         “Where the well-pleaded facts do not permit the court to infer more than the mere

possibility of misconduct, the complaint has alleged – but it has not ‘show[n] – that the pleader is

entitled to relief.’”30

3.      The Eleventh Amendment bars Doe’s § 1983 claims and breach of contract claims
        against the University, IHL, and the State of Mississippi.

        The Eleventh Amendment bars actions brought against a state in federal court by its own

citizens or citizens of another state, absent consent, waiver, or abrogation of the state’s sovereign

immunity.31 Eleventh Amendment immunity has a jurisdictional effect—it deprives a federal

court of the very power to hear such claims.32 It applies not only to the State itself, but to any


27
   See Clark v. Tarrant County, 798 F.2d 736, 741 (5th Cir. 1986) (cited in Davis v. Ashley Furniture Indus.,
2009 WL 605741 *1 (N.D. Miss., Mar. 9, 2009)).
28
   FED. R. CIV. P. 12(b)(6).
29
   In re Great Lakes Dredge & Dock Co., LLC, 624 F.3d 201, 210 (5th Cir. 2010) (internal quotations and
cites omitted).
30
   Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (quoting FED. R. CIV. P. 8(a)(2)).
31
   U.S. CONSTITUTION, AMENDMENT XI.
32
   United States v. Tex. Tech Univ., 171 F.3d 279, 286 n. 9 (5th Cir. 1999); Warnock v. Pecos County, Tex.,
88 F.3d 341, 342 (5th Cir. 1996).

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state agency or entity deemed to be an arm of the State.33 If applicable, it bars all actions against

the State entity, whether the relief sought is injunctive, declaratory or monetary.34 Additionally,

suits against state officials for monetary damages are barred under the Eleventh Amendment if

the damages would be paid out of the State treasury.35

        The University and IHL are both considered arms of the State of Mississippi for purposes

of Eleventh Amendment immunity.36 Congress has never abrogated Eleventh Amendment

immunity for purposes of a Section 1983 action or for state law breach of contract claims.37 The

Mississippi legislature specifically preserved Eleventh Amendment immunity when it included a

limited waiver of sovereign immunity in state court under the Mississippi Tort Claims Act,

which specifically provides that:

        Nothing contained in this chapter shall be construed to waive the immunity of the
        state from suit in federal court guaranteed by the Eleventh Amendment to the
        Constitution of the United States.38

        Accordingly, Doe’s Section 1983 and breach of contract claims against the State of

Mississippi, the University, and IHL are barred by the Eleventh Amendment.39 The claims

against the Individual Defendants in their official capacities are claims against the University,



33
   Perez v. Region 20 Educ. Service Center, 307 F.3d 318, 326 (5th Cir. 2002).
34
   Pennhurst St. Scho. & Hosp. v. Halderman, 465 U.S. 89, 100-01 (1984); Briggs v. Mississippi, 331 F.3d
499, 503 (5th Cir. 2003).
35
   Stewart v. Jackson Co., 2008 U.S. Dist. LEXIS 95207, at*4 (S.D. Miss. Oct. 24, 2008) (citing Ford Motor
Co. v. Dep’t of Treasury of Ind., 465 U.S. 89, 100, 104 S. Ct. 900 (1984)).
36
   Washington v. Jackson State Univ., 532 F. Supp. 804, 814 (S.D. Miss. 2006); State v. IHL, 387 So.2d 89,
91 (Miss. 1980) (declaring IHL to be “a constitutionally created state agency.”).
36
   Hays v. LaForge, 113 F. Supp. 3d 883, 891 (N.D. Miss. 2015); Whiting v. Jackson State University, 616
F.2d 116, 127 n.8 (5th Cir. 1980) (“JSU is an agency of the state because it is a state-created political body,
Miss. Code Ann. § 37-125-1 (Cum. Supp. 1979), and receives state funding.”), Carpenter v. Miss. Valley
State Univ., 807 F. Supp.2d 570, 580 (N.D. Miss. 2011).
37
   Voisin’s Oyster House v. Guidry, 799 F.2d 183, 186 (5th Cir. 1986).
38
   MISS. CODE ANN. § 11-46-5(4). See also Smith v. Leflore County, 2015 U.S. Dist. LEXIS 128533, *5
(N.D. Miss. Sept. 24, 2015).
39
   To the extent Doe’s Title IX claims against the State and IHL do not otherwise fail, they are barred by
the Eleventh Amendment.

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and the Court therefore lacks jurisdiction over such claims as well. This Court should dismiss

Doe’s Section 1983 and breach of contract claims against the State, the University, and IHL. The

Court should dismiss his Section 1983 and breach of contract claims against the Individual

Defendants in their official capacities insofar as they seek money damages.40

4.      The University, IHL, the State of Mississippi, and the Individual Defendants acting in
        their official capacities are not “persons” for purposes of Doe’s Section 1983 claims

        Even if the Court exercised jurisdiction over Doe’s Section 1983 claims against the

foregoing defendants, such claims would still fail. Section 1983 provides that “[e]very person

who, under color of any statute, ordinance, regulation, custom, or usage, of any State or Territory

or the District of Columbia, subjects or causes to be subjected, any citizen of the United State or

other person within the jurisdiction thereof to the deprivation of any rights, privileges, or

immunities secured by the Constitution and laws, shall be liable to the party injured in an action

at law, suit in equity, or other proper proceeding for redress . . . .”41 Critically, neither a State,

arm of the State, nor an individual employed by such entity acting in his or her official capacity

is considered a “person” acting under color of law.42

        IHL, as a constitutionally-created state entity, is considered an arm of the State of

Mississippi.43 The University, like Mississippi’s other public universities, is also considered an

arm of the State of Mississippi.44 The claims against Defendants Murry and Ussery in their



40
   While the Eleventh Amendment acts as a jurisdictional bar, the Court’s lack of jurisdiction cannot be
cured by relying on supplemental jurisdiction. Hernandez v. Tex. Dep’t of Human Servs., 91 Fed. App’x
934, 935 (5th Cir. 2004). “The mere presence of a jurisdictional basis cannot defeat the Eleventh
Amendment, lest the Amendment become a nullity.” Watson v. Texas, 261 F.3d 436, 440 n. 5 (5th Cir.
2001).
41
   42 U.S.C. Ann. § 1983 (emphasis added).
42
   Will v. Michigan Dep’t of State Police, 491 U.S. 58, 70, 109 S. Ct. 2304 (1989); Stauffer v. Gearhart,
741 F.3d 574, 583 (5th Cir. 2014); McNair v. Mississippi, 43 F. Supp. 3d 679, 685 (N.D. Miss. 2014);
Myers v. Mississippi Office of Capital Post-Conviction Counsel, 720 F. Supp.2d 773, 779 (S.D. Miss. 2010).
43
   Washington, 532 F. Supp. at 814; IHL, 387 So.2d at 91.
44
   Hays, 113 F. Supp. 3d at 891; Whiting, 616 F.2d at 127 n.8; Carpenter, 807 F. Supp.2d at 580.
                                                        7
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official capacities are claims against the University itself.45 Accordingly, neither IHL, the

University, the State of Mississippi, nor Murry and Ussery in their official capacities can be held

liable pursuant to § 1983. Doe’s §1983 claims against those defendants should be dismissed.46

5.      The Individual Defendants cannot grant Doe his requested injunctive relief

        A federal court under certain circumstances may enjoin state officials to conform their

future conduct to the requirements of federal law, but that exception does not apply here. In Ex

Parte Young, the Supreme Court “created an exception to Eleventh Amendment immunity for

prospective relief against state officials who have been sued in their official capacities.”47 As

articulated by the Fifth Circuit, Ex Parte Young “solidified the doctrine that state officers could

be sued in federal court despite the Eleventh Amendment, while emphasizing the requirements

that the officers have ‘some connection with the enforcement of the act’ in question or be

‘specifically charged with the duty to enforce the statute’ and be threatening to exercise that

duty.”48 Thus, unless a plaintiff brings a claim for prospective injunctive relief against a state

official with some connection to the requested relief, Ex Parte Young does not apply.49

        Doe asks the Court to “enjoin[] Defendants from violating [his] constitutional rights and

rights established under Title IX, by continuing the discriminatory unlawful disciplinary action

that was issued against him, requiring the University immediately to restore Doe as a student in

good standing at the University and prohibiting further disciplinary proceedings against him




45
   Graham, 473 U.S. at 165, 105 S. Ct. 3099 (1985).
46
   Stotter v. Univ. of Tex. at San Antonio, 508 F.3d 812, 821 (5th Cir. 2007) (“This court has also recognized
that state universities as arms of the state are not ‘persons’ under § 1983”)
47
   Nelson v. Univ. of Tex. at Dallas, 535 F.3d 318, 320 (5th Cir. 2008) (internal citation omitted).
48
   Okpalobi v. Foster, 244 F.3d 405, 415 (5th Cir. 2001) (internal quotation omitted).
49
   Id.; Fairley v. Stalder, 294 Fed. App’x 805, 811 (finding Ex Parte Young inapplicable because official
capacity defendant was “not the proper party from whom to obtain relief . . .”); El-Bawab v. Jackson St.
Univ., 2018 U.S. Dist. LEXIS 11341, *10 (S.D. Miss. Jan. 24, 2018).

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pending resolution of this matter.”50 He also wants “any finding of responsibility wholly and

permanently expunged from his academic record and to a seal of all such proceeding [sic] to

protect against subsequent disclosure to any other person or academic institution.”51

        As pled by Doe, he has been permanently expelled by the University with no ongoing or

further disciplinary proceedings pending against him.52 Accordingly, Doe fails to meet Ex Parte

Young’s requirement that the requested relief be prospective in nature and that there be some

threat of further action. As to his requests for reinstatement, expungement, and sealing, Doe has

failed to name a state official with any connection to such claim for relief. He does not allege

that either Murry or Ussery has any authority to grant that relief.53

6.      Doe has failed to state any plausible claims for relief against IHL and the State

        Pursuant to Mississippi Code Section 37-101-1, the Mississippi Legislature placed the

University “under the management and control of a board of trustees to be known as the board of

trustees of state institutions of higher learning.” However, that hierarchy does not render each

and every university decision an act of IHL. Rather, IHL “elects an executive officer as head of

each university” and, in turn, those executives make a litany of decisions regarding the

management of state universities that are never brought before IHL for approval.54 Accordingly,

in the absence of a showing that IHL “played any role in implementing” a challenged policy or

decision or “had any legal duty to consider” such decision or policy, a plaintiff fails to state a




50
   Compl., at 41 [Doc. 1].
51
   Id.
52
   Id. at 22.
53
   See El-Bawab, 2018 U.S. Dist. LEXIS at *10 (finding that President of Jackson State University was the
only named defendant with authority to grant requested injunctive relief for promotion of professor).
54
   Barrett v. Khayat, 1999 U.S. Dist. LEXIS 847, at *7-8 (N.D. Miss. Jan. 8, 1999).
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claim against IHL merely because the state universities are statutorily under its general

management and control.55

        Doe’s Complaint acknowledges that IHL had no direct role in developing or

implementing the complained of policy, nor in carrying out any of the complained of actions.56

Throughout the entire Complaint, Doe pleads as to IHL only that pursuant to “Article IX, § (5) of

the bylaws and policies of the Board of Trustees of State Institutions of Higher Learning, the

Chancellor of the University of Mississippi is charged with the responsibility of maintaining

appropriate standards of conduct for student and is authorized to expel, dismiss, suspend, and/or

place limitation on continued attendance and/or levy penalties for disciplinary violations subject

to procedures of due process.”57 Doe concludes that “[t]he policies and procedures enacted by

the University, pursuant to the delegation of authority granted by the Chancellor and the Board

of Trustees of State Institutions of Higher Learning” violated Title IX and his due process

rights.58 As to the State of Mississippi, Doe alleges only that the State of Mississippi “is

responsible for the actions of the remaining Defendants as they are its agencies, subdivisions,

agents and/or employees” and that their actions “represent the actions of the State itself as a

matter of law.”

        Doe does not allege that IHL or the State had any role in developing those policies and

procedures, nor does he plead that IHL or the State was under any obligation to do so. He relies

solely on IHL’s statutory hierarchy over the University in his claims against IHL. Doe relies on

an even more attenuated nexus with respect to the State of Mississippi. Accordingly, Doe has

failed to state any plausible claims for relief against IHL and the State of Mississippi.


55
   Id.; accord Giles v. Univ. of Miss., 2000 U.S. Dist. LEXIS 23781, at *6 (N.D. Miss. Aug. 29, 2000).
56
   Compl. at 2 [Doc. 1].
57
   Id.
58
   Id.
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7.      IHL, the State of Mississippi, and the Individual Defendants are not subject to liability
        under Title IX.

        Title IX implies a private right of action only against “education program[s] or

activit[ies]” which receive federal financial assistance.59 It does not provide for individual

liability, and courts have rejected attempts to hold other non-education programs or activities

liable.60 For State and local governments, only the department or agency which receives aid is

covered.61

        Plaintiff pleads only that the University receives federal financial assistance is subject to

Title IX. The Individual Defendants are not education programs or activities and do not receive

federal funding.62 IHL is not an education program or activity that receives federal funding. The

State of Mississippi is not an education program or activity. The Court should dismiss Doe’s

Title IX claims against the Individual Defendants, IHL, and the State of Mississippi.

8.      Doe’s Title IX claim fails to state a claim for relief against the University.

        Title IX provides that “[n]o person in the United States shall, on the basis of sex, be

excluded from participation in, be denied the benefits of, or be subjected to discrimination under

any education program or activity receiving Federal financial assistance.”63 The Supreme Court

has held that Title IX implies a private right of enforcement for intentional sex discrimination or

deliberate indifference to discrimination or harassment of a student on the basis of sex.64 The



59
   See 20 U.S.C. §1682.
60
   See Doe v. Hillsboro Ind. Sch. Dist., 81 F.3d 1395, 1401 n.9 (5th Cir. 1996) (noting that district courts in
the Fifth Circuit have held that a Title IX claim may not be asserted against an individual); Williams v. Bd.
of Regents, 477 F.3d 1292, 93-94 (11th Cir. 2007); IF v. Lewisville Ind. Sch. Dist., 2017 U.S. Dist. LEXIS
211643, *11 (E.D. Tex. Jun. 20, 2017).
61
   Alegria v. Texas, 2007 U.S. Dist. LEXIS 67031, *40-43 (S.D. Tex. Sept. 11, 2007); 34 C.F.R. §
106.2(h)(1)(i)-(ii).
62
   Compl., at 32 [Doc. 1].
63
   20 U.S.C. §1681.
64
   Cannon v. Univ. of Chicago, 441 U.S. 677, 690-93, 99 S. Ct. 1946 (1979), Franklin v. Gwinnett Co. Publ.
Sch., 503 U.S. 60, 112 S. Ct. 1028 (1992), Gebser v. Lago Vista Ind. Sch. Dist., 524 U.S. 274, 290-91, 118

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Court has noted that “discrimination” is a term that covers a “wide range of intentional unequal

treatment,” and that Congress gave the statute a broach reach by using such a term.65

        Some courts have opined that a student may “attack[] a university disciplinary proceeding

on grounds of gender bias” under Title IX, but the Fifth Circuit has declined to do so.66 When

allowing plaintiffs to use Title IX to collaterally attack student disciplinary proceedings, other

circuits have recognized four potential avenues: 1) erroneous outcome, 2) selective enforcement,

3) deliberate indifference, and 4) archaic assumptions.67 Here, Doe seems to assert an erroneous

outcome, selective enforcement, and deliberate indifference claim. While this Court should

decline to adopt such theories of liability absent further instruction from the Fifth Circuit, Doe

has not adequately stated a claim for relief even assuming the viability of such standards for

liability.

        A. Doe fails to plead sex bias in support of his erroneous outcome theory.

        When proceeding under an erroneous outcome theory, it is still incumbent on the plaintiff

to show that sex “[was] a motivating factor in the decision to discipline.”68 Accordingly, the

plaintiff must not only allege facts sufficient to cast articulable doubt on the outcome of the

proceedings, but also showing a particularized causal connection between the purportedly flawed

outcome and actual sex bias.69 To demonstrate that sex bias, the plaintiff may rely on evidence




S. Ct. 1661 (1999); Jackson v. Birmingham Bd. of Ed., 544 U.S. 167, 167, 125 S. Ct. 1497 (2005); Plummer
v. Univ. of Houston, 860 F.3d 767, 777 (5th Cir. 2018).
65
   Birmingham Bd. of Ed., 544 U.S. at 175.
66
   Yusuf v. Vassar Coll., 35 F. 3d 709b 715 (2d Cir. 1994); Doe v. Miami Univ., 882 F.3d 579, 589 (6th Cir.
2018); Plummer, 860 F.3d at 777 (noting that Second Circuit has held University may be liable for imposing
discipline where gender is motivating factor under two general theories); Plummer v. Univ. of Houston,
2015 U.S. Dist. LEXIS 189229, *50 (S.D. Tex. May 28, 2015) (noting the lack of binding precedent for
erroneous outcome theory).
67
   See id.
68
   Yusuf, 35 F.3d at 715; see also Doe v. Univ. of Colo., 255 F. Supp. 3d 1064, 1074 (D. Colo. 2017).
69
   Doe v. Cummins, 662 F. App’437, 443 (6th Cir. 2016)
                                                        12
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such as “statements by members of the disciplinary tribunal, statements by pertinent university

officials, or patterns of decisions-making that also tend to show the influence of gender.”70 A

plaintiff may not rely on general unsubstantiated assertions of bias, the fact that a majority of

respondents are male rather than female, purported preferential treatment of complainants over

respondents, allegations that investigative methods were in violation of Title IX’s requirements,

or assertions that the investigation and adjudication constituted an effort to achieve a

predetermined result, as such allegations fail to exhibit sex bias.71

        Here, Doe relies only on conjecture and sex-neutral allegations in support of his

erroneous outcome theory.72 Without pleading supporting facts, Does alleges that there is a

“pattern of decision-making whereby the disciplinary procedures governing sexual assault claims

are discriminatorily applied in favor of guilt on the part of the male students,” that “male

students in misconduct cases at the University are discriminated against solely on the basis of

their sex,” and that “[m]ale students are typically found guilty regardless of the evidence and

certain exculpatory evidence is excluded from consideration.”73 When he does plead facts, Doe

puts forth only gender-neutral allegations, claiming in pertinent part that he was subjected to a

disciplinary process “marked by procedural flaws, sex based biased [sic], and selective

enforcement,” that the result was “based on flawed and distorted facts and/or application by the

Defendants,” that the Title IX officer “deliberately and recklessly and intentionally refused to



70
   Yusuf, 35 F.3d at 715.
71
   Mallory v. Ohio Univ., No. 01-4111, 76 Fed. App’x 634, 638 (6th Cir. Sept. 11, 2003); Doe v. Univ. of
Cincinnati, 2018 U.S. Dist. LEXIS 51833, *14 (S.D. Ohio Mar. 28, 2018) (“Because Plaintiff has failed to
show how the alleged procedural deficiencies are connected to gender bias, Plaintiff fails to state a claim
under Title IX based on erroneous outcome theory.”); Doe v. Univ. of Denver, 2018 U.S. Dist. LEXIS
40926, *27-29 (D. Colo. Mar. 13, 2018); Doe v. Univ. of the S., 687 F. Supp. 2d 744, 756 (E.D. Tenn.
2009); Doe v. Univ. of Colo., 255 F. Supp. 3d at 1079.
72
   Compl., at 31-37 [Doc. 1].
73
   Id. at 34-35.
                                                        13
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accept evidence from Doe and misrepresented the statements of witnesses,” that the evidence

was not weighed in his favor and exculpatory evidence was overlooked, that the sanction

imposed was arbitrary and capricious, and that the investigation was not “adequate, reliable, and

impartial.”74

        Concentrating only on his obligation to plead facts casting articulable doubt on the

outcome of the proceedings, Doe wholly overlooks his obligation to also plead facts showing a

particularized causal connection between the purportedly flawed outcome and actual sex bias.

Aside from legal conclusions masquerading as factual allegations, Doe pleads no “statements by

members of the disciplinary tribunal, statements by pertinent university officials, or patterns of

decisions-making that also tend to show the influence of gender.” Doe’s legal conclusions and

sex-neutral complaints regarding the University’s Title IX procedures are insufficient to state a

claim under an erroneous outcome theory.

        B. Doe fails to plead sex bias in support of his selective enforcement theory.

        Likewise, in support of a selective enforcement claim, Doe must still allege sex bias.75 To

successfully assert a claim under the selective enforcement theory, the plaintiff must

“demonstrate that a female was in circumstances sufficiently similar to his own and was treated

more favorably by the University.”76 Doing so requires “identification of a comparator of the

opposite sex who was treated more favorably by the educational institution when facing similar

disciplinary charges.”77 The complainant is not considered an adequate comparator for purposes




74
   Id. at 33-34.
75
   Yusuf, 35 F.3d at 714; Mallory, 76 Fed. App’x at 638.
76
   Mallory, 76 Fed. App’x at 641 (citing Curto v. Smith, 248 F. Supp. 2d 132, 146-47 (N.D.N.Y. 2003); see
also Doe v. Univ. of the South, 687 F. Supp. 2d at 756 (requiring plaintiff to plead female was “in
circumstances sufficiently similar” but was “treated more favorably.”).
77
   Doe v. Case Western Reserve Univ., 2015 U.S. Dist. LEXIS 123680, *15 (N.D. Ohio Sept. 16, 2015).
                                                       14
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of the analysis.78 Here, Doe does not identify a female comparator nor does he even allege that a

female in sufficiently similar circumstances was treated more favorably than he was.

        C. Doe fails to plead a claim for deliberate indifference.

        The deliberate indifference theory allows a plaintiff to recover when an educational

institution is deliberately indifferent to the sexual harassment of a student.79 Under the deliberate

indifference standard, a plaintiff must “demonstrate that an official of the institution who had

authority to institute corrective measures had actual notice of, and was deliberately indifferent to,

the misconduct.”80 For a school to be liable under Title IX, “its response, or lack thereof, to the

harassment, must be clearly unreasonable in light of the known circumstances.” As noted by the

Fifth Circuit, “[t]hat is a high bar and neither negligence nor mere unreasonableness is

enough.”81 The Supreme Court has only recognized the possibility of a deliberate indifference

claim under Title IX when there is an allegation of sexual harassment.82

        Here, Doe attempts to raise a deliberate indifference claim based on purported procedural

insufficiencies in the Title IX process. He asserts that “Defendants had knowledge that the

policies of the University were in violation of Title IX, biased against male students accused of

sexual assault and void of due process protections, yet deliberately failed to remedy the

situation.”83 Although the Fifth Circuit has not given clear instruction regarding the availability

of such a claim, the Sixth Circuit has explicitly rejected such a theory of liability. In Sanches v.

Carrolton-Farmers Branch Independent School District, where the court rejected a plaintiff’s


78
   Id. (citing Sterrett v. Cowan, 85 F. Supp. 3d 916 (E.D. Mich. 2015) (vacated on req. of parties)).
79
   Sanches v. Carrollton-Farmers Br. Ind. Sch. Dist., 647 F. 3d 156, 167 (5th Cir. 2011); Mallory, 76 F.
App’x at 638.
80
   Mallory, 76 F. App’x at 638; Doe v. Univ. of the South, 687 F. Supp. 2d at 756.
81
   Sanches, 647 F.3d at 167.
82
   Doe v. Miami Univ., 882 F.3d at 590 (citing Horner v. Ky. High Sch. Athl. Ass’n., 206 F.3d 685, 691-93
(6th Cir. 2000).
83
   Compl., at [Doc. 1].
                                                       15
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attacks on the district’s investigative process noting that Title IX does not require “flawless

investigations or perfect solutions,” the court only considered the adequacy of the school’s

process because the plaintiff had alleged that the school was deliberately indifferent to her claims

of sexual harassment.84

        Doe makes no allegations regarding sexual harassment, and his deliberate indifference

claim fails. Even if a court created a cause of action for deliberate indifference to a plaintiff’s

Title IX rights in the absence of a sexual harassment allegation, Doe has still failed to tie his

allegations of procedural insufficiencies to sex-based bias or discrimination. Doe’s deliberate

indifference claim should be dismissed.

9.      Doe’s claims for monetary damages under Title IX are barred by sovereign immunity

        The states’ immunity from suit in federal court stems from both the Eleventh Amendment

and the “structure of the original Constitution itself.”85 While the Eleventh Amendment acts as a

jurisdictional bar in federal court, the states’ inherent sovereign immunity protects them from

private claims in state or federal court.86 Although the two concepts frequently overlap, state

sovereign immunity is broader than that described by the Eleventh Amendment.87

        Any waiver of sovereign immunity is construed strictly and “in favor of the sovereign.”88

A mere waiver of sovereign immunity for purposes of federal jurisdiction does not implicitly

carry with it a waiver as to any other form of relief.89 To subject a state to suit for money

damages, the waiver “must extend unambiguously to such monetary claims.”90



84
   647 F.3d at 170.
85
   Alden v. Maine, 527 U.S. 706, 733, 119 S. Ct. 2240 (1999).
86
   See id. at 712.
87
   See id. at.713.
88
   Lane v. Pena, 518 U.S. 187, 192, 116 S. Ct. 2092 (1996).
89
   See Sossamon v. Texas, 563 U.S. 277, 285, 131 S. Ct. 1651 (2011).
90
   Id. (quoting Lane, 518 U.S. at 192).
                                                      16
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        The text of Title IX does not provide a private right of action or a damages remedy.91 In

finding such private right of action implied, the U.S. Supreme Court determined that “absent a

contrary indication in the text or history of the statute,” Congress is understood to have operated

under the general rule that federal courts have the power to award “any appropriate relief in a

cognizable cause of action brought pursuant to a federal statute.”92 Following the Court’s

determination that the text of the Rehabilitation Act did not adequately waive the states’

sovereign immunity for monetary damages, Congress passed the Rehabilitation Act

Amendments of 1986, which are likewise applicable to Title IX. Section 1003 of the

Rehabilitation Act Amendments of 1986 explicitly waives the states’ jurisdictional immunity

under the Eleventh Amendment, but it does not expressly waive the states’ inherent sovereign

immunity or subject the states to money damages. 42 U.S.C. § 2000d-7(a)(2) provides:

        In a suit against a State for a violation of a statute referred to in paragraph (1),
        remedies (including remedies at law and in equity) are available to the same
        extent as such remedies are available in the suit against any public or private
        entity other than a State.

        The Supreme Court has already found that the language contained at Section 2000d-7 is

subject to multiple interpretations and lacks the clear statement required to subject the federal

government to an award of damages.93 While the Court has found that Title IX impliedly creates

a right of action for “any appropriate relief,” neither the text of Title IX nor the subsequent

amendments enacted by Congress sufficiently waive the states’ sovereign immunity or subject

them to money damages. Doe’s Title IX claims for money damages are barred by Mississippi’s

sovereign immunity.94


91
   20 U.S.C. §§ 1682, 1683.
92
   Franklin v. Gwinnett County Publ. Sch. Dist., 503 U.S. 60, 70 (1992).
93
   Lane, 518 U.S. at 200.
94
   This issue is currently pending before the Eighth Circuit Court of Appeals in Fryberger v. University of
Arkansas-Fayetteville, No. 16-4505.

                                                        17
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10.     Plaintiff's breach of contract claim is barred by the Mississippi Tort Claims Act as to
        IHL, the University, the State of Mississippi, and the Individual Defendants

        The Mississippi Tort Claims Act (“MTCA”) provides the exclusive avenue for claims

against the University and its employees.95 Essentially, the MTCA waives Mississippi's

sovereign immunity in certain circumstances, but sets out twenty-five exemptions.96 If any of the

exemptions apply, immunity is preserved.97 In addition to applying to strict tort claims, the

MTCA also extends to quasi-tort claims and implied contract claims.98

        As a threshold matter, prior to filing a claim under the MTCA, a claimant must provide

written pre-suit notice.99 Failure to comply with such notice provisions is fatal to a plaintiff’s

suit.100 Under the substantive provisions of the MTCA “no employee shall be held personally

liable for acts or omissions occurring within the course and scope of the employee's duties.”101

Moreover, “[a] governmental entity and its employees acting within the course and scope of their

employment or duties shall not be liable for any claim: . . . [b]ased upon the exercise or

performance or the failure to exercise or perform a discretionary function or duty on the part of a

governmental entity or employee thereof, whether or not the discretion be abused.”102

        Here, Doe presses a claim for breach of an unwritten contract. Doe failed to file pre-suit

notice for any of those claims, and they are all barred by the MTCA. Doe’s state-law claims are

barred by the MTCA and should be dismissed in their entirety.103



95
   Taylor v. Epps, 2015 U.S. Dist. LEXIS 64569, at *16 (S.D. Miss. May 18, 2015).
96
   Id.
97
   Id.
98
   Haggard v. City of Jackson, 84 So.3d 797, 800 (Miss. 2011).
99
   MISS. CODE. ANN. 11-46-11(2).
100
    See Conrad v. Holder, 825 So.2d 16, 19 (Miss. 2002).
101
    MISS. CODE ANN. 11-46-72(7).
102
    MISS. CODE ANN. 11-46-9(1)(d).
103
    To the extent Doe may attempt to argue that his post-suit notice filed on April 14, 2018 cures such
deficiency, he is incorrect. Gorton v. Rance, 52 So. 3d 351, 358 (Miss. 2011); Lee v. Ishee, 383 F. App’x
499, 501 (5th Cir. 2010).

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11.     Doe fails to state a breach of contract claim

        A breach of contract claim has two elements: (1) the existence of a valid and binding

contract, and (2) a showing that the defendant has broken or breached it.104 Doe fails to allege the

existence of a contract, implied or otherwise, between himself and the Individual Defendants.

The Court should dismiss Doe’s breach of contract claim as to the Individual Defendants.

        Doe alleges that the other Defendants breached contractual obligations to him “by failing

to abide by Title IX, subjecting Doe to a gender bias and failing to comply with [their] own

policy and procedures, and by the adoption and implementation of unconstitutional customs,

policies and practices in the implementation of Title IX at the University.”105 However, his

allegations do not identify an express contract containing any such terms, and he has expressly

not stated an implied contract theory.106 His contract claims should be dismissed.

12.     Doe’s procedural due process rights were not violated

        Doe bases his due process claims on the premise that the University should have

afforded him the protections afforded to criminal defendants. For example, he alleges that he was

deprived of due process because he could not directly cross-examine witnesses, because his

attorneys were not allowed to participate in the disciplinary hearing, and because he did not have

the ability to subpoena witnesses to attend. However, a “university is not a court of law, and it is

neither practical nor desirable it be one.”107 The Fifth Circuit has also held that “[d]ue process in




104
    Maness v. K & A Ent. of Miss., 2018 Miss. LEXIS 61, *10 (Miss. Feb. 8, 2018) (quoting Business
Communications, Inc. v. Banks, 90 So. 2d 802, 805 (Miss. 2012)).
105
    Compl., at 40.
106
    Id. at 40-41.
107
    Plummer v. Univ. of Hous., 860 F.3d 767, 773 (5th Cir. 2017) (citing Flaim v. Med. Coll. of Ohio, 418
F.3d 629, 635 n.1 (6th Cir. 2005)).

                                                       19
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the context of [a student disciplinary proceeding] is not to be equated with that essential to a

criminal trial ….”108

        The Fifth Circuit has long held that “due process requires notice and some opportunity

for hearing before a student at a tax-supported college is expelled for misconduct.”109 However,

the student “is not entitled to the ‘opportunity to secure counsel, to confront and cross-examine

witnesses supporting the charge, or to call his own witnesses to verify his version of the

incident.”110 Rather,

        the amount of process due in university disciplinary proceedings is based on a
        sliding scale that considers three factors: (a) the student’s interests that will be
        affected; (b) the risk of an erroneous deprivation of such interests through the
        procedures used and the probable value, if any, of additional or substitute
        procedural safeguards; and (c) the university’s interests, including the burden that
        additional procedures would entail.111

        The interests implicated by the first and third Mathews factors are clear. Doe has an

interest in the outcome of the disciplinary proceedings, and the University has an interest in

maintaining a safe learning environment and preserving administrative resources.112 Doe’s

procedural due process claim, then, is to be considered in light of the risk of an erroneous

deprivation of his interests and the probable value of additional or substitute procedural

safeguards. The Fifth Circuit recently found that students accused of sexual misconduct were not




108
    Jenkins v. La. State Bd. of Educ., 506 F.2d 992, 1000 (5th Cir. 1975); see also Nash v. Auburn Univ.,
812 F.2d 655, 664 (11th Cir. 1987) (“Due process requires that appellants have the right to respond, but
their rights in the academic disciplinary process are not co-extensive with the rights of litigants in a civil
trial or with those of defendants in a criminal trial.”).
109
    Plummer, 860 F.3d at 773 (citing Dixon v. Ala. State Bd. of Educ., 294 F.2d 150, 158 (5th Cir. 1961)).
See also Esfeller v. O’Keefe, 391 Fed. App’x 337, 342 (5th Cir. 2010) (holding that a “student subject to
school disciplinary proceedings … must be given notice of the charges against him, an explanation of
what evidence exists against him, and “an opportunity to present his side of the story” (citing Goss v.
Lopez, 419 U.S. 565, 581 (1975)).
110
    Esfeller, 391 Fed. App’x at 342 (citing Goss, 419 U.S. at 583).
111
    Id. (citing Mathews v. Eldridge, 424 U.S. 319, 335 (1976))
112
    Id. at 773-74.
                                                          20
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deprived of due process where they received “meaningful opportunities to challenge the

University’s allegations, evidence, and findings.”113 A public university discharges its due

process obligations in the student discipline context when students are “able to fully discuss the

charges against them and present evidence supporting their contentions.”114 The examination

should focus on whether the student had an opportunity to “respond, explain, and defend.”115

        The process provided to Doe during his disciplinary proceedings gave him a meaningful

opportunity to address the Judicial Council and to challenge the evidence presented against him.

As discussed above, he had numerous opportunities to present testimony and documentary

evidence to the Judicial Council.116 He was also given access to an appeal procedure, which

ultimately led to a second full-fledged disciplinary hearing.117

        Doe’s Complaint lists numerous purported procedural deficiencies that he claims

deprived him of due process. Each of these assertions fails to state a claim.

        Doe complains that the Judicial Council heard hearsay evidence,118 but “rights in a

student disciplinary hearing may properly be determined upon the hearsay evidence of school

administrators who investigate disciplinary infractions.”119 Doe’s pleadings also fail to allege any

harm or prejudice that came from the admission of any such evidence.




113
    Id. at 774.
114
    Parker v. Duffey, 251 Fed. App’x 879, 883 (5th Cir. 2007)
115
    Flaim, 418 F.3d at 635; Doe v. Cummins, 662 Fed. App’x 437, 446 (6th Cir. 2016) (cited with
approval in Plummer v. Univ. of Hous., 860 F.3d 767, 774 (5th Cir. 2017)).
116
    Supra, at 3.
117
    Compl., at 14-17 [Doc. 1].
118
    Id. at 13-14.
119
    Tasby v. Estes, 643 F.2d 1103, 1106 (5th Cir. 1981); see also Crook v. Baker, 813 F.2d 88, 99 (6th Cir.
1987) (“It is clear that admission of hearsay evidence [at a school disciplinary proceeding] is not a denial
of procedural due process.”).

                                                        21
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        Doe also complains that he was not allowed to subpoena witnesses and that the witnesses

who testified were not placed under oath.120 The University has no subpoena power, much less

the obligation to grant it to a respondent in a disciplinary hearing. Moreover, as Judicial Council

proceedings are not court proceedings, there is no requirement for witnesses to be sworn.

Moreover, Doe did call witnesses at the hearing, and his Complaint does not allege prejudiced by

his lack of subpoena power.121 “[D]isciplinary proceedings do not require formal rules of

evidence or all the procedural protections of a trial.”122

        While Doe submitted written questions to be asked of witnesses (including the

complainant) during the disciplinary hearings, he asserts that he should have been allowed to

directly confront and cross-examine the complainant and complains that “not all of his questions

were asked.”123 Defendants have found no Fifth Circuit case establishing a constitutional right to

direct cross-examination in a student disciplinary hearing. The Sixth Circuit recently held that a

“circumscribed form of cross-examination” requiring submission of questions to the hearing

panel was constitutionally sufficient under Mathews, as schools are not burdened to oversee the

process of direct cross-examination with all of its intendent objections.124 Nor can Doe establish

a constitutional right for all of his submitted questions to be asked. There is no authority limiting

the Judicial Council’s ability to screen questions for relevance or repetition – the same authority

a court would have in a criminal trial.




120
    Compl., at 13-14; 27; 30 [Doc. 1].
121
    Id. at 18, 20-21.
122
    Plummer v. Univ. of Houston, No. 4:14-CV-2959, 2015 U.S. Dist. LEXIS 189229, at *43 (S.D. Tex.
May 28, 2015), aff’d 860 F.3d 767 (5th Cir. 2017).
123
    Compl., at 26 [Doc. 1].
124
    Doe, 662 Fed. App’x at 448. See also Nash v. Auburn Univ., 812 F.2d 655, 664 (11th Cir. 1987)
(finding “no denial of appellants’ constitutional rights to due process by their inability to question the
adverse witnesses in the usual, adversarial manner”).

                                                         22
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        In fact, the hearing transcript reflects that the Judicial Council asked Jane Roe more than

ninety questions submitted by Doe.125 After the Council asked the questions Doe had submitted

in advance, he submitted additional questions, which the Council also asked.126 The Council

asked Jane Roe questions about how she came to be in Doe’s dorm room and who else was

there,127 her prior communications with Doe,128 the nature and timing of the sexual encounter

between Doe and Jane Roe,129 any actions she took to resist or escape Doe’s advances,130 her

feelings about Doe’s relationship with another female friend,131 her actions following the sexual

encounter with Doe and her contact with the Title IX coordinator and campus police,132 and the

results of a medical examination for evidence of sexual assault that she underwent after the

encounter.133 Especially in light of the Judicial Council’s extensive questioning of Jane Roe at

his behest, Doe was not deprived of due process.

        Doe’s also alleges that his due process rights were violated because “[t]he use of the

‘preponderance of the evidence’ standard as the threshold legal standard for an adjudication of

‘Responsible’ or guilty under the totality of the circumstances presented is illegal and

unconstitutional and was/is arbitrary and capricious.”134 Defendants have found no authority that

would constitutionally require the University to use a higher burden of proof for a student

disciplinary hearing.




125
    Ex. “F” (November Disciplinary Hearing Transcript), at 32:1-65:25.
126
    Id. at 60:12-65:25.
127
    Id. at 32:14-34:14.
128
    Id. at 60:18-61:8.
129
    Id. at 34:15-37:10
130
    Id. at 37:11-43:11.
131
    Id. at 43:12-44:10.
132
    Id. at 44:17-53:20; 54:21-60:10.
133
    Id. at 53:24-54:20.
134
    Compl., at 25-26 [Doc. 1].
                                                      23
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        Doe also asserts that “[d]ue process imposes a duty on the State to disclose exculpatory

material and favorable evidence to a defendant.”135 The University did not (and could not)

charge Doe with a crime. He was never a “defendant” in his disciplinary proceedings, and he was

not entitled to the full range of protections owed to a criminal defendant. Doe claims that the

University had a duty to preserve surveillance footage from outside his dorm room that could

have showed “identity of persons entering and exiting John Doe’s dormitory, the times of their

entry and exit, and the dispositions of persons as they entered and departed.”136 At the hearing,

Doe told the Judicial Council that he thought the video would have shown that Jane Roe “wasn’t

upset” when she left his dorm room after their sexual encounter.137 Defendants are aware of no

authority requiring the University to preserve such surveillance footage, if it existed. Even if

such footage did exist, though, it would not have been exculpatory because Jane Roe never

claimed that she was visibly upset immediately after leaving Doe’s dorm room. Rather, she

testified at the hearing and reported to the Title IX coordinator that she and Doe exchanged a hug

and rode the elevator down in silence after the sexual encounter.138

        Doe alleges throughout his Complaint that the University exhibited “bias” toward him

throughout the disciplinary process. Notably, he has not alleged that any particular member of

the Judicial Council or the Appellate Consideration Board was biased against him. Doe does

allege that he was denied due process because a substitute Judicial Council member had to be

appointed on the day of the second hearing.139 However, he does not allege any facts that, if

proven, would show that any member of the Judicial Council (including the substituted member)


135
    Compl., at 25 [Doc. 1] (citing Manning v. State, 884 So. 2d 717 (Miss. 2004); Armstrong v. State, 214
So. 2d 589 (Miss. 1968)).
136
    Id., at 11.
137
    Ex. “H” (November Disciplinary Hearing Transcript), at 137:14.
138
    Id. at 9:11-10:8; Ex. “B” (Ussery report), at 2.
139
    Compl., at 18, 27 [Doc. 1].
                                                       24
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harbored bias toward him.140 Moreover, he was given an opportunity to challenge any Council

member’s participation in the hearing, and he declined to do so.141

        Doe also claims that the University was biased against him because the Judicial Council

did not declare a “mistrial” or punish Jane Roe after she mentioned the outcome of the first

disciplinary hearing to the Judicial Council during the second hearing.142 Again, though, the

Judicial Council was not bound by rules of court, and Defendants are aware of no authority that

would preclude the Judicial Council from reviewing the record from the prior hearing. The

second Judicial Council would certainly have been aware of the prior proceedings, as Doe

himself sought to play portions of an audio recording of the first hearing at the second hearing.143

        Doe primarily directs his bias allegations at Defendant Ussery. However, Ussery was not

a decision-maker, and she did not participate in the second hearing at all.144 Her only

involvement in the hearing was to provide a written report summarizing Jane Roe’s allegations

and her interviews of various witnesses.145 Ussery’s report did not reach a conclusion as to

whether Doe was responsible for violating the University’s sexual misconduct policy. The report

made no findings as to the credibility of the various witnesses, and it made no recommendations

as to how the Judicial Council should act. The report also included a summary of Doe’s

statement to Ussery, given in the presence of Doe’s attorney, in which Doe denied Jane Roe’s

allegations.146 Doe alleges that Ussery should have interviewed other witnesses and sought other


140
    See Pham v. Univ. of La. at Monroe, 194 F. Supp. 3d 534, 544 (W.D. La. 2016) (holding that “there is
a presumption of honesty and integrity in those serving as adjudicators” and that, “[i]n order to make out
a procedural due process claim based on bias, actual bias must be proved”
141
    Ex. “H” (November Disciplinary Hearing Transcript), at 3:22-25.
142
    Compl., at 18-19 [Doc. 1]
143
    Compl., at 61-62 [Doc. 1].
144
    Id. at 18.
145
    Id.; see Ex. “B” (Ussery report). This report is properly before the Court on a motion to dismiss, as its
contents are referenced throughout the Complaint. See Compl., at 12-13, 16-18, 24, 29, 33-34.
146
    Id.
                                                         25
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evidence before writing her report.147 However, as noted above, Doe was allowed to challenge

Ussery’s findings and to call his own witnesses and provide supplementary evidence.

        Doe also complains that Ussery’s report was submitted in its original form to the second

Judicial Council.148 However, he is not correct that the first Appellate Consideration Board found

that report “to be biased and lack discussion of exculpatory evidence.”149 That Appellate Board

noted that, during the first hearing, Ussery read her the “Allegations” portion of her report when

asked for a “case summary” by the Judicial Council.150 Because she did not read the various

witness statements summarized in her report, including the Respondent’s statement, the first

Appellate Board found that the Judicial Panel “could have assumed that the summary was Ms.

Ussery’s determination of the facts of the case.”151 The Board further noted:

        Furthermore, if the Complainant is participating in the hearing and witnesses are
        available, the panel, while having access to the Title IX Coordinator’s report,
        should not automatically call the Coordinator as a witness as the policy states that
        the hearing board, and not the Title IX Coordinator, is the finder of fact.152

        Doe takes no issue with the Board’s findings or its recommendation, which Ussery

followed to the letter by not testifying or appearing at the second hearing.

        The first Appellate Board also did not fault Ussery for failing to include exculpatory

information in her report. Rather, it found that:

        The complainant and respondent stated strong discrepancies as to the length of
        time during which sexual activity occurred. Because of the lack of follow-up
        questioning by the Judicial Council, the Appellate Consideration Board is unable
        to assess if the Judicial Council realized the discrepancy and considered it. (Of
        course, the panel has the right to weigh the value of any information introduced,
        and information that is not relevant should not be considered.)

147
    Id. at 12-13.
148
    Id. at 16.
149
    Id.
150
    Ex. “H” (Appellate Consideration Board findings). This document is properly before the Court on a
motion to dismiss, as its contents are discussed in the Complaint. See Compl., at 15-16.
151
    Id.
152
    Id.
                                                      26
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        Indeed, during the second hearing, Roe was asked about the length of time that the sexual

encounter lasted.153 In other words, both of the Appellate Consideration Board’s concerns were

specifically addressed during the course of the second hearing.

        Doe was not deprived of any procedural right to which he was entitled. He received a full

and fair opportunity to testify, call witnesses, introduce evidence, and challenge evidence

presented by the complainant and the Title IX coordinator. This Court should dismiss his

procedural due process claims.

13.     Doe’s substantive due process rights were not violated

        Doe appears to claim that the Judicial Council’s determination that he was responsible for

a violation of the University’s sexual misconduct policy violated his substantive due process

because it was “contrary to the substantial evidence and was arbitrary and capricious.”154 “To

state a substantive due process claim, a plaintiff must show that the government’s deprivation of

a property interest was arbitrary or not reasonably related to a legitimate governmental

interest.”155 The Supreme Court has emphasized that “only the most egregious official conduct

can be said to be arbitrary in the constitutional sense….”156 “Expelling a student after a hearing,

a supplemental hearing, and an appeals process is not the type of conduct which shocks the

conscience as a matter of law.”157

        There was nothing constitutionally arbitrary about the Judicial Council’s determination

that Doe had engaged in sexual misconduct when the complainant testified that he did so,



153
    Ex. “F” (November Disciplinary Hearing Transcript), at 39:9-18, 41:15-24.
154
    Compl., at 21 [Doc. 1].
155
    Williams v. Tex. Tech Univ. Health Scis. Ctr., 6 F.3d 290, 294 (5th Cir. 1993)
156
    Cty. of Sacramento v. Lewis, 523 U.S. 833, 846, (1998) (citing Collins v. Harker Heights, 503 U.S.
115, 129 (1992))
157
    Pham v. Univ. of La. at Monroe, 194 F. Supp. 3d 534, 548 (W.D. La. 2016).
                                                       27
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especially in light of his own testimony that Jane Doe did not give him verbal consent and was

initially “unsure” of whether she wanted to have sex. As Doe’s Complaint notes, the Judicial

Council’s decision included a “credibility determination” just as most trials do.158 The fact that

the Judicial Council resolved that determination in Jane Roe’s favor did not deprive Doe of

substantive due process.

14.     The individual Defendants are entitled to qualified immunity

        Defendants Ussery and Murry are entitled to qualified immunity as to Doe’s claims under

Section 1983. Designed to protect “all but the plainly incompetent or those who knowingly

violate the law,” the qualified immunity defense “requires courts to enter judgment in favor of a

government employee unless the employee’s conduct violates ‘clearly established statutory or

constitutional rights of which a reasonable person would have known.’”159 Where a defendant in

a Section 1983 suit pleads qualified immunity and shows he is a governmental official whose

position involves the exercise of discretion, the plaintiff has the burden to establish that the

alleged conduct violates clearly-established law.160

        The question of qualified immunity is to be determined as a matter of law.161 Moreover, it

requires a conduct-based inquiry,162 not an abstract legal or factual inquiry. A plaintiff must meet

a heightened pleading requirement – he must allege specific conduct giving rise to a

constitutional violation, and he may not rely on mere conclusory allegations.163 The pleading



158
    Compl., at 30 [Doc. 1].
159
    Morse v. Frederick, 551 U.S. 393, 429 (2007) (Breyer, J., concurring in part and dissenting in part)
(citing Malley v. Briggs, 475 U.S. 335, 341 (1986)).
160
    Kovacic v. Villarreal, 628 F.3d 209, 211 (5th Cir. 2010) (citing Thompson v. Upshur County, TX, 245
F.3d 447, 456 (5th Cir. 2001).
161
    E.g., Elder v. Holloway, 510 U.S. 510, 515-16 (1994).
162
    Wood, 134 S.Ct. at 2067.
163
    Wicks v. Miss. St. Employment Servcs., 41 F.3d 991, 994-95 (5th Cir. 1995); King v. Lawrence County
Bd. of Educ., 2:12-CV-68, 2013 WL 319286, at *2 (S.D. Miss. Jan. 28, 2013).

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must describe conduct “clear to a reasonable officer that his conduct was unlawful in the

situation he confronted.”164

        To disprove the applicability of qualified immunity, a plaintiff must satisfy a two-prong

test.165 At the dismissal stage, the court must determine whether the facts alleged make out a

violation of a constitutional right.166 If so, the issue becomes objective legal reasonableness, and

the court must decide whether the right at question was clearly-established at the time of

defendant’s alleged misconduct.167 Because qualified immunity is an immunity from suit and not

merely a defense to liability, it should be resolved at the earliest possible stage.168

        As discussed above, the only pertinent action that Defendant Ussery took was to prepare

an investigative report summarizing witness interviews. Doe disagreed with some witnesses’

statements and thought that Ussery should have included additional details in her report, but he

had a full and fair opportunity to challenge her report and submit additional evidence or

corrections. Doe has not alleged any facts that, if proven, could establish that Ussery violated his

constitutional rights, much less a clearly-established constitutional right.

        Doe alleges that, during the second disciplinary hearing, Defendant Murry: (1) conferred

with the Judicial Council and the University’s General Counsel after Doe objected to Jane Roe’s

reference to the outcome of the first hearing, (2) “affirmatively sanctioned and ratified” that

statement, and (3) “inappropriately met with the Council for approximately one hour and




164
    Wood v. Moss, 134 S.Ct. 2056, 2067 (2014); Ashcroft, 131 S.Ct. at 2083; Stauffer, 741 F.3d at 583-84.
165
    Marquez v. Garnett, No. 13-50599, 2014 WL 1779210, at *2 (5th Cir. May 6, 2014).
166
    Pearson, 555 U.S. at 232.
167
    Id.; Baker v. Pound, 75 F.3d 190, 198 (5th Cir. 1996).
168
    Pearson v. Callahan, 555 U.S. 223, 231-32 (2009); Backe v. LeBlanc, 691 F.3d 645, 648 (5th Cir.
2012) (“[Addressing] the defendant's assertions of qualified immunity before discovery has taken place
is precisely the point of qualified immunity: to protect public officials from expensive, intrusive discovery
until and unless the requisite showing overcoming immunity is made.”).

                                                         29
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interfaced with the deliberative process of the panel.”169 Doe also mentions that Defendant

Murry should have “discovered,” “obtain[ed],” or “consider[ed]” additional evidence during the

disciplinary proceedings, but he does not actually allege that Murry was responsible for or

actually undertook any investigation.170 None of these actions, even if proven, would establish

that Murry violated Doe’s clearly-established constitutional rights.

           Defendants Murry and Ussery are entitled to qualified immunity. This Court should

dismiss Doe’s claims against them.

                                            CONCLUSION

           John Doe accepted enrollment at the University with full knowledge of its student

conduct code and, specifically, the sexual misconduct provisions. Consistent with its student

discipline procedure, the University investigated allegations made by Jane Roe against John Doe.

Two separate tribunals found him responsible for sexual misconduct after hearing hours of live

witness statements and considering various documentary submissions. The final appeal panel

imposed a sanction of expulsion, an outcome within its disciplinary authority. While John Doe

dislikes the result, his disappointment does not create a claim against the University under Title

IX or the Individual Defendants under Section 1983. This Court should dismiss the Complaint.

           THIS, the 18th day of April, 2018.




169
      Compl., at 19, 21 [Doc. 1].
170
      Id., at 2-3 [Doc. 1].
                                                      30
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                                  Respectfully submitted,

                                  THE UNIVERSITY OF MISSISSIPPI, STATE
                                  INSTITUTIONS OF HIGHER LEARNING, TRACY
                                  MURRY, HONEY USSERY, AND THE STATE OF
                                  MISSISSIPPI

                                   s/ Paul B. Watkins, Jr.
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                                     CERTIFICATE OF SERVICE

        I, Paul B. Watkins, Jr., one of the attorneys for Defendants, do certify that I have

electronically filed this document in the ECF system with the Clerk of the Court which sent

notification of the filing to all attorneys of record.

        THIS, the 18th day of April, 2018.

                                                          s/ Paul B. Watkins, Jr.
                                                         PAUL B. WATKINS, JR.
